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Kenner Law Firm
David Kenner, SBN 41425
16633 Ventura Blvd., Ste. 735
Encino, CA 91436
Phone: (818) 995-1195
Fax: (818) 475-5369
Email: David@KennerLaw.Com
Attorney for Defendant
Prakazrel michel

                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

  THE uNITED sTATES OF aMERICA,                      cASE NO. 19-148-1(CKK)
  pLAINTIFFS,                                        DEFENDANT MICHEL’S PROPOSED
                                                     WITNESS LIST



  VS.




  PRAKAZREL MICHEL, ET AL.,                          The Honorable Colleen Kollar-Kotelly
  DEFENDANTS.



        COMES NOW DEFENDANT PRAKAZREL MICHEL, by and through counsel of record,

and hereby lodges with the Honorable Court his proposed witness list. Mr. Michel respectfully

reserves the right to update this witness list as circumstances dictate and allow.



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DATED: September 30, 2022          Respectfully submitted,

                                          /s/ David Kenner
                                          David E. Kenner
                                          Kenner Law Firm
                                          16633 Ventura Blvd., Suite 735
                                          Encino, CA 91436
                                          (818) 995-1195
                                          Email: david@kennerlaw.com
                                          CA Bar No.: 41425
                                          Counsel for Defendant



                                          /s/ Charles Haskell
                                          Charles R. Haskell
                                          The Law Offices of Charles R. Haskell
                                          641 Indiana Ave. NW
                                          Washington, DC 20004
                                          (202) 888-2728
                                          Email: Charles@CharlesHaskell.com
                                          DC Bar No.: 888304007
                                          Retained Counsel for the Defendant
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                                          WITNESS LIST


       The Defense’s investigation of this case and preparation for trial continues, and Defendant

reserves the right to add witnesses should it become necessary

       The current witnesses are:

   1. Bekkedam, Barry – former financial advisor to Mr. Michel

   2. Broidy, Elliott – Political consultant, former Chair of RNC Finance Committee

   3. Carson, Ben – former Secretary of Housing and Urban development

   4. Gouzer, Loic– an official at Christie’s auction house

   5. Higginbotham, Azadeh – Wife of George Higginbotham

   6. Higginbotham, George – former legal counsel to Mr. Michel

   7. Hilliard, Erica – Assistant to Elliot Broidy at Broidy Capital

   8. Johnson, Jeh – former head of Homeland Security

   9. Kelley, John– former POTUS Chief of Staff

   10. Lidsky, Harry – FBI Investigator

   11. Lum-Davis, Nicki

   12. Malone, Rich – Financial expert for Defense

   13. Moscowitz, Marc– former financial advisor to Mr. Michel

   14. Obama, Barack – Former President

   15. Richardson, Neville – producer director former financial advisor of Mr. Michel

   16. Ross, Helene – office manager to Bekkadem’s consulting company (FCBOC)

   17. Rousseau, Joel– promoter and friend of Mr. Michel

   18. Sessions, Jeff – Former U.S. Attorney General

   19. Trump, Donald – Former President
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   20. Wengei, Guo – PRC dissident

   21. White, Frank – Former Presidential Fundraiser

   22. Wynn, Steve – Hotel and Casino owner

   23. Zitman, Andrew – Supervisory FBI Special Agent



       The Defense is prepared to make an offer of proof as to any of the listed witnesses if the

Court so requests and at a time convenient to the Court.


DATED: September 30, 2022                    Respectfully submitted,

                                                    /s/ David Kenner
                                                    David E. Kenner
                                                    Kenner Law Firm
                                                    16633 Ventura Blvd., Suite 735
                                                    Encino, CA 91436
                                                    (818) 995-1195
                                                    Email: david@kennerlaw.com
                                                    CA Bar No.: 41425
                                                    Counsel for Defendant



                                                    /s/ Charles Haskell
                                                    Charles R. Haskell
                                                    The Law Offices of Charles R. Haskell
                                                    641 Indiana Ave. NW
                                                    Washington, DC 20004
                                                    (202) 888-2728
                                                    Email: Charles@CharlesHaskell.com
                                                    DC Bar No.: 888304007
                                                    Retained Counsel for the Defendant
          Case 1:19-cr-00148-CKK Document 172 Filed 10/03/22 Page 5 of 5




                                CERTIFICATE OF SERVICE

       I declare under penalty of perjury that the foregoing is true and correct this ___ day of

September 30, 2022, at Washington D.C., and that this document is executed under penalty of

perjury according to the laws of the United States of America.
                                                     ____________________
                                                     Charles R. Haskell
                                                     Attorney at Law
